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                      UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS (CHICAGO)
______________________________________________________________________________

GYBRANY ONOFRE,                                              CASE NO. 1:17-cv-06160
         Plaintiff,

       v.                                                    Judge Robert W. Gettleman

TRANS UNION, LLC and
EQUIFAX INFORMATION
SERVICES, LLC,
            Defendants.
______________________________________________________________________________

  STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                    DEFENDANT TRANS UNION, LLC ONLY
______________________________________________________________________________

       Plaintiff Gybrany Onofre, by counsel, and Defendant Trans Union, LLC (“Trans Union”),

by counsel, hereby stipulate and agree that all matters herein between them have been

compromised and settled, and that Plaintiff’s cause against Trans Union only should be dismissed,

with prejudice, with each party to bear its own costs and attorneys’ fees.

                                              Respectfully submitted,



Date: 12/05/17                                 /s/ Geoff B. McCarrell (with consent)
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                                              David S. Klain, Esq.
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                                              Counsel for Gybrany Onofre




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Date: 12/05/17                       /s/ Katherine E. Carlton Robinson
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                                     Katherine Carlton Robinson, Esq. (IN #31694-49)
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 5th day of December, 2017. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 Geoffrey B. McCarrell, Esq.                         David S. Klain, Esq.
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 Mary Kathryn Curry, Esq.                            Rodney L. Lewis, Esq.
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         The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 5th day of December, 2017,

properly addressed as follows:

 None.



                                              /s/ Katherine E. Carlton Robinson
                                              Sandra Davis Jansen, Esq. (IN #27803-53)
                                              Katherine Carlton Robinson, Esq. (IN #31694-49)
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                                              Counsel for Defendant Trans Union, LLC




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